                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 NORTHERN DIVISION
                                    2:21-CV-34-JG

LILLIE BROWN CLARK, Administrator for )
the Estate of Andrew Brown, Jr.,      )
                                      )
               Plaintiff,             )
                                      )
               v.                     )                               ORDER
                                      )
DANIEL MEADS, Investigator, in his    )
individual capacity, et al.,          )
                                      )
               Defendants.            )

        At the hearing on the settlement in this case on 7 July 2022 (see Minute Entry (D.E.

117)), the court directed plaintiff’s counsel—with their consent—to file by 14 July 2022 a

number of supplementary materials regarding approval of the settlement as to the minors due

funds under the settlement and of the fees and costs requested by plaintiff’s counsel. While

plaintiff’s counsel did file some of the materials as required (see D.E. 119-1 to 119-4), they did

not file others by 14 July 2022 and have not done so since. The outstanding materials are:

        1.     a declaration (or affidavit) of the guardian ad litem appointed for purposes of the

settlement as to the minors stating her position with regard to the settlement;

        2.     a comparable declaration by the minors’ mother;

        3.     a copy of the fully signed settlement agreement (i.e., including the signature of

counsel for defendants);

        4.     a statement of the age of the minors; and

        5.     information on the trustworthiness of the proposed trust company. See Minute

Entry for 7 July 2022 Hrg. (D.E. 117); FTR Recording of 7 July 2022 Hrg. (11:09:02 to

11:11:07 (specification of materials to be filed); 11:12:29 to 11:12:44 (setting 14 July 2022

deadline for filing)).

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       Plaintiff’s counsel shall file the foregoing outstanding materials as soon as practicable,

but in no event later than 21 July 2022. Further delay in the filing of these materials may result

in the imposition of sanctions against those responsible.

       The Clerk shall today serve a copy of this order on the guardian ad litem, Attorney

Whitney S. McCrea, at whitney@whitneymccrea.com

      This 18th day of July 2022.


                                                     _________________________
                                                     James E. Gates
                                                     United States Magistrate Judge




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